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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 AUDRA MCCOWAN, et al.,                                       CIVIL ACTION

        Plaintiffs,
                                                              NO. 19-3326-KSM
        v.

 CITY OF PHILADELPHIA, et al.,

        Defendants.


                                              ORDER

       AND NOW, this 11th day of January, 2021, upon consideration of Defendant Curtis

Younger’s Partial Motion to Dismiss (Doc. No. 53), Plaintiffs’ response brief (Doc. No. 61),

Younger’s reply brief (Doc. No. 64), the City Defendants’ Partial Motion to Dismiss (Doc.

No. 54), Plaintiffs’ response brief (Doc. No. 60), the City Defendants’ reply brief (Doc. No. 66),

Defendant Richard Ross Jr.’s Motion to Dismiss (Doc. No. 55), and Plaintiffs’ response brief

(Doc. No. 59), it is ORDERED that the motions are GRANTED IN PART and DENIED IN

PART as follows:

       1.       The following claims are dismissed with prejudice:

       •     McCowan’s claims against Gibbons;

       •     Allen’s claims against Ross;

       •     Plaintiffs’ IIED claims (Count XV) against the City;

       •     Plaintiffs’ stand-alone claims for declaratory relief (Count XXIII) and injunctive
             relief (Count XXIV) against Ross and Younger.

       2.       The following claims are dismissed without prejudice:

       •     McCowan’s § 1981 claims (Counts VIII, IX, and X) against Ross;
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       •    Plaintiffs’ § 1983 disparate treatment claims (Count XI) against Ross, the City, and
            the individual City Defendants in their official capacity;

       •    Plaintiffs’ PHRA and PFPO claims for retaliation and aiding and abetting (Counts
            XVIII, XIX, XXI, and XXII) against Younger.

       3.      Otherwise, the motions to dismiss (Doc. Nos. 53–55) are DENIED.

       4.      If Plaintiffs can resolve the issues addressed in the accompanying Memorandum,

they may file a third amended complaint as to the claims that the Court has dismissed without

prejudice. 1 If Plaintiffs choose to file a third amended complaint, they should add a § 1983

citation to Counts VIII, IX, and X as those claims relate to the City. The third amended

complaint, if any, is due within fourteen days of the date of this Order.

       5.      Defendants shall file their answers within twenty-one days of Plaintiffs filing a

third amended complaint or informing the Court and opposing counsel that they do not intend to

file a third amended complaint.

IT IS SO ORDERED.



                                                       /s/Karen Spencer Marston
                                                       ______________________________
                                                       KAREN SPENCER MARSTON, J.




       1
          As stated in Judge Marston’s Policies and Procedures, the third amended complaint “must
include a redline showing the changes made to the original pleading.”


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